218 F.2d 587
    Hilliard SANDERS, Petitioner,v.E. B. SWOPE, Warden, United States Penitentiary, Alcatraz, California, Respondent.
    Misc. No. 399.
    United States Court of Appeals, Ninth Circuit.
    December 23, 1954.
    
      Hilliard Sanders, in pro. per.
      No appearance for respondent.
      Before DENMAN, Chief Judge, and HEALY and ORR, Circuit Judges.
      PER CURIAM.
    
    
      1
      Sanders seeks permission to appeal forma pauperis from an order entered by the District Court, Northern District of California, Southern Division, dismissing his application for a writ of habeas corpus and discharging a show cause order. His present application to this court alleges that the above order was entered August 12, 1954, and rehearing was denied August 25, 1954.
    
    
      2
      His application to appeal forma pauperis was denied by the District Court, Judge Hamlin certifying that the appeal is not taken in good faith. The time for appeal having elapsed, the motion is dismissed.
    
    